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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION



 The State of Texas, et al.,

                        Plaintiffs,
                                                    Case No. 4:20-cv-00957-SDJ
 v.
                                                    Hon. Sean D. Jordan
 Google LLC,

                        Defendant.


 PLAINTIFF STATES’ UNOPPOSED MOTION FOR LEAVE TO FILE UNDER SEAL

       The Plaintiff States (“The States”) respectfully move to seal their Motion for Spoliation

Sanctions (“the Motion”) and the exhibits thereto (“Exhibits”), to be filed later today. Defendant

Google LLC (“Google”) does not oppose.

I.     LEGAL STANDARD

       While the “public’s right of access to judicial proceedings is fundamental” and creates a

default presumption “that judicial records should not be sealed,” Binh Hoa Le v. Exeter Fin. Corp.,

990 F.3d 410, 418-19 (5th Cir. 2021), this right of access “is not absolute.” Nixon v. Warner

Commc’ns, Inc., 435 U.S. 589, 598 (1978). Courts have properly limited the public’s right of

access to protect “sources of business information that might harm a litigant’s competitive

standing.” Nixon, 435 U.S. at 598. In deciding whether to allow public access to judicial records,

the Court must exercise its discretion “in light of the relevant facts and circumstances of the

particular case,” balancing “the public’s common law right of access against the interests favoring

nondisclosure.” Vantage Health Plan, Inc. v. Willis-Knighton Med. Ctr., 913 F.3d 443, 450 (5th




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Cir. 2019) (quoting Nixon, 435 U.S. at 599, and S.E.C. v. Van Waeyenberghe, 990 F.2d 845, 848

(5th Cir. 1993)).

II.    ARGUMENT

       The States, with Google’s consent, request to file under seal their Motion for Spoliation

Sanctions and all exhibits attached thereto because they contain references to documents and

depositions that Google has stated contain non-public, highly sensitive commercial information

that, if disclosed publicly, may cause Google competitive harm. Examples of such documents

include depositions, documents, and data produced in this case as Confidential and/or Highly

Confidential – Attorneys’ Eyes Only.

       Courts routinely recognize that the interest in nondisclosure of sensitive commercial

information outweighs the public’s right of access to court records. See, e.g., Nixon, 435 U.S. at

598 (“[C]ourts have refused to permit their files to serve . . . as sources of business information

that might harm a litigant’s competitive standing.”).

       Here, the States’ Motion and Exhibits contain data including the use of chat

communications, specific communications by Google employees and executives, internal data

from Google, and depositions pertaining thereto. The States’ Motion and Exhibits further contain

expert declarations describing such documents and depositions.

       Consistent with Local Rule CV-5, if permitted to file the Motion and Exhibits under seal,

the States will work with Google to file a redacted version—with as limited redactions as

possible—of the above-referenced documents within seven (7) days.

III.   CONCLUSION

       For these reasons, the States respectfully move the Court for an order to file under seal the

Motion and Exhibits.




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Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       I certify that, on December 9, 2024, this document was filed electronically in compliance

with Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per

Local Rule CV-5(a)(3)(A).

                                                /s/ Geraldine W. Young
                                                Geraldine W. Young



                            CERTIFICATE OF CONFERENCE

       I certify that counsel has complied with the meet and confer requirement in Local Rule

CV-7(h), and that this motion is unopposed.

                                                /s/ Marc B. Collier
                                                Marc B. Collier
